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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW MEXICO

DAVID MINOR,

       Plaintiff,

v.                                                        Civ. No. 21-237 KWR/GBW

LUIS ALBERTO RAMIREZ JUAREZ, et al.,

       Defendants.

                    ORDER DENYING MOTION WITHOUT PREJUDICE

       THIS MATTER is before the Court on Plaintiff’s Motion to Strike Surveillance

Video and Motion for Sanctions (doc. 23). In their Response, Defendants assert that

Plaintiff did not confer with them about their position on the motion prior to its filing.

See doc. 24 at ¶ 1. Plaintiff, having not filed a reply, does not dispute this assertion.

       The Local Rules require that a “[m]ovant must determine whether a motion is

opposed,” and the motion must include a “recitation of a good-faith request for

concurrence.” D.N.M.LR-Civ. 7.1(a). Failure to satisfy these requirements may lead to

summary denial. Id.

       With respect to this motion, Plaintiff has satisfied neither requirement. The

Court recognizes that, given the nature of the motion, concurrence was unlikely.

However, given the troubling counter-allegations in Defendants’ response, the

interaction between counsel required by the rule could have obviated the motion or
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narrowed the issues. Consequently, the Court concludes that summary denial is

appropriate.

      Plaintiff’s Motion to Strike Surveillance Video and Motion for Sanctions (doc. 23)

is DENIED WITHOUT PREJUDICE.




                                        _____________________________________
                                        GREGORY B. WORMUTH
                                        UNITED STATES MAGISTRATE JUDGE




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